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P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                         )
                                                 )
                             vs.                 )     Docket Number: 1:05CR00150-002
                                                 )
CAMMIE KAY COVARRUBIAS                           )
                                                 )


On October 14, 2005, the above-named was placed on Supervised Release for a period of
3 years. She has complied with the rules and regulations of supervision. It is accordingly
recommended that she be discharged from supervision.

                                   Respectfully submitted,

                                    /s/ Thomas A. Burgess

                                 THOMAS A. BURGESS
                          Senior United States Probation Officer

Dated:         January 22, 2008
               Bakersfield, California
               TAB:ks

REVIEWED BY:          /s/ Rick C. Louviere
                      RICK C. LOUVIERE
                      Supervising United States Probation Officer




                                                                                                        R ev. 05/2006
                                                             E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
          Case 1:05-cr-00150-OWW Document 33 Filed 02/19/08 Page 2 of 2


Re:   CAMMIE KAY COVARRUBIAS
      Docket Number: 1:05CR00150-002
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from supervised release, and that
the proceedings in the case be terminated.

IT IS SO ORDERED.

Dated: February 15, 2008                    /s/ Oliver W. Wanger
emm0d6                                 UNITED STATES DISTRICT JUDGE




                                                                                                       R ev. 05/2006
                                                            E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
